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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                                Chapter 11

 Fluid Market, Inc., et al.,                           Case No. 24-12363 (CTG)

                         Debtor(s).                    (Jointly Administered)

                                                       Ref. No.:


                   ORDER MODIFYING STAY AND PLAN INJUNCTION

          Upon consideration of Creditor’s Motion for an Order Modifying Stay and Plan Injunction

(the “Motion”) and the Declaration in Support of Creditor’s Motion for an Order Modifying Stay

and Plan Injunction (the “Declaration”), all briefings filed in connection therewith, and any

responses thereto; and the Court having determined that it has subject matter jurisdiction to

consider and determine the Motion in accordance with 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that due and sufficient notice was given under the circumstances; and the Court having

found and determined that the Motion, and legal and factual bases set forth in the Motion, establish

just cause for the relief requested in the Motion; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

          1.     The Motion is GRANTED;
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       11.    The automatic stay and plan injunction is modified to permit Creditor to proceed

with his legal action against the Debtors, as nominal parties only, and to proceed to collect any

judgment or settlement obtained solely against available insurance proceeds.

        2.    The automatic stay and any plan injunction remain in effect in all other respects.




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